                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
              v.                                  )       CASE NO. 3:04CR190-02-MR-DSC
                                                  )       (Financial Litigation Unit)
THOMAS L. JACOBS,                                 )
                                                  )
and                                               )
                                                  )
DARDEN RESTAURANTS INC.                           )
RETIREMENT INCOME PLAN,                           )
                Garnishee.                        )

                         WRIT OF CONTINUING GARNISHMENT

GREETINGS TO:        Darden Restaurants Inc. Retirement Income Plan
                     c/o Corporate Creations Network Inc.
                     11380 Prosperity Farms Road, Suite 221E
                     Palm Beach Gardens, FL 33410

        An Application for a Writ of Garnishment against the property of Thomas L. Jacobs,

Defendant, has been filed with this Court, (Docket No.197). A judgment has been entered

against Defendant, (Docket No. 138).        The United States Clerk of Court balance of

$2,709,972.86, computed through June 25, 2012, and is due and owing.

        You, as Garnishee, are required by law to answer in writing, under oath, within ten

(10) days, of service of this Writ, whether or not you have in your custody, control or

possession, any property or funds owned by Defendant, including non-exempt, disposable

earnings.

        You must withhold and retain any property in which Defendant has a substantial

non-exempt interest and for which you are or may become indebted to Defendant pending



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further order of the Court. This means that you should withhold 25% of Defendant=s

earnings which remain after all deductions required by law have been withheld and 100%

of all 1099 payments. See 15 U.S.C. '1673(a).

       Please state whether or not you anticipate paying Defendant any future payments

and whether such payments are weekly, bi-weekly, monthly, annually or bi-annually.

       You must file the original written Answer to this Writ within ten (10) days of your

receipt of this Writ with the following office:

                           Clerk of the United States District Court
                                     401 West Trade Street
                                      Charlotte, NC 28202

       Additionally, you are required by law to serve a copy of the Answer upon

Defendant at his last known address:

                                     Thomas L. Jacobs
                                  xxxxxxxxxxxxxxxxxxxxxxx
                                    Charlotte, NC 28227

       You are also required to serve a copy of the Answer upon the Plaintiff at the

following address:

                     Jennifer A. Youngs, Assistant United States Attorney
                                United States Attorney's Office
                                   Financial Litigation Unit
                              227 West Trade Street, Suite 1650
                                     Charlotte, NC 28202

       Under the law, there is property which is exempt from this Writ of Garnishment.

Property which is exempt and which is not subject to this Order may be listed on the




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attached Claim for Exemption form.

      Pursuant to 15 U.S.C. '1674, you, the Garnishee, are prohibited from discharging

Defendant from employment by reason of the fact that his earnings have been subject to

garnishment for any one indebtedness.

      Pursuant to 28 U.S.C. '3205(c)(6), if you fail to answer this Writ or withhold

property or funds in accordance with this Writ, the United States of America may petition

the Court for an order requiring you to appear before the Court to answer the Writ and to

withhold property before the appearance date. If you fail to appear or do appear and fail

to show good cause why you failed to comply with this Writ, the Court shall enter a

judgment against you for the value of Defendant=s non-exempt interest in such property.

The Court may award a reasonable attorney's fee to the United States and against you if

the Writ is not answered within the time specified. It is unlawful to pay or deliver to

Defendant any item attached by this Writ.

      SO ORDERED.                           Signed: July 13, 2012




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                                   CLAIM FOR EXEMPTION FORM

               MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. '3613)
_____ 1.        Wearing apparel and school books. -- Such items of wearing apparel and such school
brooks as are necessary for the debtor or for members of his family.

_____ 2.         Fuel, provisions, furniture, and personal effects. -- So much of the fuel, provisions,
furniture, and personal effects in the Debtor=s household, and of the arms for personal use, livestock, and
poultry of the debtor, as does not exceed $6,250 in value.

_____ 3.        Books and tools of a trade, business, or profession. -- So many of the books, and tools
necessary for the trade, business, or profession of the debtor as do not exceed in the aggregate $3,125 in
value.

_____ 4.      Unemployment benefits. -- Any amount payable to an individual with respect to his
unemployment (including any portion thereof payable with respect to dependents) under an unemployment
compensation law of the United States, of any State, or of the District of Columbia or of the
Commonwealth of Puerto Rico.

_____ 5.        Undelivered mail. -- Mail, addressed to any person, which has not been delivered to the
addressee.

_____ 6.        Certain annuity and pension payments. -- Annuity or pension payments under the Railroad
Retirement Act, benefits under the Railroad Unemployment Insurance Act, special pension payments
received by a person whose name has been entered on the Army, Navy, Air Force, and Coast Guard
Medal of Honor roll(38 U.S.C. 1562), and annuities based on retired or retainer pay under Chapter 73 of
Title 10 of United States Code.

_____ 7.        Workmen=s Compensation. -- Any amount payable with respect to compensation
(including any portion thereof payable with respect to dependents) under a workmen=s compensation law
of the United States, any State, the District of Columbia, or the Commonwealth of Puerto Rico.

_____ 8.       Judgments for support of minor children. -- If the debtor is required by judgment of a
court of competent jurisdiction, entered prior to the date of levy, to contribute to the support of his minor
children, so much of his salary, wages, or other income as is necessary to comply with such judgment.

_____ 9.         Certain service-connected disability payments. -- Any amount payable to an individual
as a service-connected (within the meaning of section 101(16) of Title 38, United States Code) disability
benefit under -- (A) subchapter II, III, IV, V, or VI of Chapter 11 of such Title 38 or (B) Chapter 13, 21,
23, 31, 32, 34, 35, 37 or 39 of such Title 38.

____ 10.        Assistance under Job Training Partnership Act.
                -- Any amount payable to a participant under the Job Training Partnership Act (29 U.S.C.
                1501 et seq.) From funds appropriated pursuant to such Act.




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